A O 4 5 0 ( R e v . 5/85)




                 United States District Court
                            EASTERN DISTRICT OF NORTH CAROLINA


PAULINE WHITAKER ALEXANDER,                           )
          Plaintiff,                                  )
                                                      )      JUDGMENT IN A CIVIL CASE
            v.                                        )      CASE NO. 4:08-CV-32-F
                                                      )
Q.V.C. DISTRIBUTION CENTER, P.O.C.,                   )
BILL STANULIS, PLANT MANAGER,                         )
             Defendants,                              )

Decision by Court.


     IT IS ORDERED AND ADJUDGED that the Defendant’s Motion for Summary Judgment is
ALLOWED. The Clerk of Court is DIRECTED to close the case.


     THE ABOVE JUDGMENT WAS ENTERED TODAY, December 29, 2009, AND A COPY
MAILED VIA ELECTRONICALLY OR BY REGULAR MAIL TO:



Alvin L. Pittman                                             Gregory P. McGuire
5933 W. Century Boulevard, Suite 230                         2301 Sugarbush Road, Suite 600
Los Angeles, CA 90045                                        Raleigh, NC 27612




December 29, 2009                                            DENNIS P. IAVARONE
Date                                                         Clerk of Court

                                                              /s/ Susan K. Edwards
Wilmington, North Carolina                                   (By) Deputy Clerk




                                            Page 1 of 1
                 Case 4:08-cv-00032-F   Document 48       Filed 12/29/09    Page 1 of 1
